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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

RAY EARL ROBERTS,
          Plaintiff,

vs.                                                  C.A. NO. 2:19-cv-02415-JAR-ADM

WAL-MART, INC.,
          Defendant.


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW, Plaintiff Ray Earl Roberts, by and through his attorneys of record, Tony L.

Atterbury and William L. Barr, Jr. of Brad Pistotnik Law, P.A.; and Defendant Walmart, Inc. by

and through its attorneys of record, Mitchell L. Herren and Sean D. Walsh of Hinkle Law Firm

LLC and pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(ii) all of the parties file this Joint Stipulation

of Dismissal with Prejudice, notifying the Court that Plaintiffs and Defendant hereby stipulate to

the dismissal of the above-captioned case with prejudice with each party to bear its own costs

and attorneys’ fees.

       Submitted this the 5th day of March, 2020.
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